     Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 1 of 28



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

ROBBIE RILEY Individually and as                 §
Representative of the Estate of                  §
JAMES EUGENE RILEY JR.                           §
      Plaintiff,                                 §
                                                 §
v.                                               §          CASE NO. 17:17-cv-223
                                                 §
CORE DISTRIBUTION, INC.                          §
AMAZON.COM, INC.,                                §
AMAZON.COM, LLC.,                                §
    Defendants.

                      PLAINTIFF’S FIRST AMENDED COMPLAINT

       COMES NOW, Plaintiff Robbie Riley Individually and as Representative of the Estate

of James Eugene Riley, Jr. and files this her Plaintiff’s First Amended Complaint complaining of

Defendants Core Distribution, Inc., (hereinafter “CDI”), Amazon.com, Inc. and Amazon.com,

LLC (collectively “Amazon.com” or “Amazon”), with all of the aforementioned defendants

referred to herein as the “Defendants,” and for cause of action show:

                                           PARTIES

1.     Plaintiff is a resident of Hidalgo County, Texas.

2.     Defendant Core Distribution, Inc. (hereinafter CDI) is a corporation organized under the

laws of the State of Minnesota. CDI has been served with complaint and summons and has filed

an answer.

3.     Defendant Amazon.com, Inc. is a corporation organized under the laws of the State of

Delaware. Amazon.com has been served with complaint and summons and has filed an answer.

4.     Defendant Amazon.com LLC is a limited liability company organized and existing under

the laws of the State of Delaware. Amazon.com LLC has been served with complaint and




                                                1
     Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 2 of 28



summons and has filed an answer. Hereinafter, Amazon.com and Amazon.com LLC shall be

collectively referred to as “Amazon”.

                                 JURISDICTION AND VENUE

5.     Plaintiff Riley denies that this Court has jurisdiction over the instant lawsuit, be it

diversity jurisdiction or otherwise, since Plaintiff has made no claims invoking federal question

jurisdiction and Plaintiff initially sued two Defendants, Taylor and Hurt, that are citizens of

Texas. Plaintiff Riley further denies that Defendants Taylor and Hurt were improperly joined.

See Plaintiff’s Motion to Remand on file with the Court and adopted and incorporated herein by

reference. The Court has ruled that it has jurisdiction over the instant action under diversity

jurisdiction under 28 U.S.C. Sec. 1332 since the Defendants that are citizens of Texas,

Defendants Taylor and Hurt, were improperly joined and thus ignored for purposes of

determining diversity jurisdiction. As it stands now, Defendants are diverse parties that are

citizens of States other than Texas. Plaintiff seeks damages against Defendants in excess of

$75,000.00.

6.     Venue is proper in this district under 28 U.S.C. Sec. 1391(b)(2) since a substantial part of

the events or omissions giving rise to the claims herein occurred in this district.

                                              FACTS

7.    At all times relevant hereto, CDI designed, manufactured, assembled, supplied, distributed,

marketed and sold telescoping ladders including but not limited to CDI’s Model Professional

Series 785P 15.5 foot telescoping ladder.        At all times relevant hereto, Amazon supplied,

distributed, marketed, advertised, and sold CDI’s telescoping ladders Model Pro Series 785P on

its internet website “Amazon.com” accessible to the residents and citizens of the State of Texas

including Decedent Riley.




                                                  2
     Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 3 of 28



8.     During 2015 the Decedent Riley, accessed Amazon.com via his computer to shop for a

ladder to be utilized in his business Valley Wide Restoration, Inc. The Decedent looked at

various ladders that were listed for sale by Amazon.com on its website. Thereafter, Decedent

Riley read various statements contained upon the Amazon.com website for a ladder made by

CDI. Decedent Riley then reviewed the photographs and statements made on Amazon’s website

for CDI’s Model Pro Series 785P telescoping ladder that opens by the foot to a maximum height

of 15.5 feet. The statements made by Amazon’s website concerning CDI’s Model Pro Series

785P telescoping ladder were as follows: the ladder features heavy-duty construction; is designed

to hold up to professional use; is OSHA and ANSI approved; features rugged aerospace

engineered 6061 aluminum alloy construction; nonslip end caps that help keep it firmly in place;

designed for both commercial contractors and home do it yourselfers, is a sensible alternative to

traditional bulky extension ladders; durable; heavy duty ladder; ergonomic design; and locking

tabs for smooth safe operation; with larger duty ratings than the original Xtend & Climb ladders,

the Professional Edition ladders can withstand even the most demanding jobs. Alternatively,

CDI made affirmative statements and claims about its Model Pro Series 785P telescoping ladder

on Amazon’s website as follows: the ladder features heavy-duty construction; is designed to hold

up to professional use; is OSHA and ANSI approved; features rugged aerospace engineered 6061

aluminum alloy construction; nonslip end caps that help keep it firmly in place; designed for

both commercial contractors and home do it yourselfers, is a sensible alternative to traditional

bulky extension ladders; durable; heavy duty ladder; ergonomic design; and locking tabs for

smooth safe operation; with larger duty ratings than the original Xtend & Climb ladders, the

Professional Edition ladders can withstand even the most demanding jobs.

9. After reviewing Amazon’s advertisement, photos and information concerning CDI’s Model




                                               3
      Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 4 of 28



Pro Series 785P telescoping ladder, Decedent Riley purchased said ladder from Amazon’s

website from his computer located in Hidalgo County, Texas. As part of the purchase and

agreement with Amazon, the subject ladder would be shipped to Decedent’s business address in

Hidalgo County, Texas. Thereafter, CDI’s Model Pro Series 785P telescoping ladder was

received by Decedent Riley in Hidalgo County Texas and put to use in Decedent’s Riley’s

business operations with Valley Wide Restoration, Inc.

10.    Prior to April 12, 2017, Valley Wide Restoration, Inc. was contacted by Nationwide to

perform a “ladder assist” for Nationwide in connection with Nationwide’s inspection of a house

located at 3021 Jefferson Avenue, McAllen Texas. In particular, Valley Wide Restoration, Inc.

was to assist two Nationwide adjusters, Rachel Taylor and Robin Hurt, in those adjustors’ effort

to inspect the roof of said home in connection with an insurance claim investigation by

Nationwide. Decedent Riley was the employee of Valley Wide Restoration, Inc. that responded

to Nationwide’s call for the ladder assist and scheduled the “ladder assist” for April 12, 2017.

11. On April 12, 2017, Decedent Riley arrived at the home located at 3021 Jefferson Avenue,

McAllen Texas to perform the “ladder assist” for Nationwide insurance adjusters Taylor and

Hurt. Decedent Riley was to ascend to a particular section of the roof to observe and photograph

the particular areas of the roof. Decedent Riley, used CDI’s Model Pro Series 785P telescoping

ladder to perform the “ladder assist”. At all times relevant hereto, Decedent Riley used the

subject ladder as per the instructions and in the manner intended.

12. While Decedent was on the ladder, the alleged locking tabs on the telescoping ladder gave

way and collapsed the ladder in one or two or three or three of four telescoping compartments.

As a result of the ladder tabs giving way, Decedent Riley lost his balance on the ladder and fell

to the ground and sustained severe injuries, including to his head, that caused his untimely death.




                                                 4
      Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 5 of 28



Alternatively, while Decedent Riley was on the ladder, the alleged non-slip end caps to the

ladder which are at the bottom of the ladder that touch the ground, tore and/or slipped causing

the ladder to move which in turn caused Decedent Riley to lose his balance on the ladder, fall to

the ground where he sustained severe injuries that caused his untimely death.

                                    VICARIOUS LIABILITY

13.    At all times relevant hereto Plaintiff asserts respondeat superior liability against each of

the Defendants for that the acts and omissions committed by the employees and agents of each of

the Defendants within their respective scope of employment and agency with Defendants.

                                      SURVIVAL ACTION

14.    Plaintiff Robbie Riley is the spouse, heir and representative of the Estate of James

Eugene Riley Jr and Plaintiff is entitled to bring this survival action pursuant to Texas Civil

Practice and Remedies Code Section 71.021. Plaintiff brings the following survival claims and

causes of action against Defendants as stated herein. Defendants’ respective tortious acts and

omissions proximately caused Decedent Riley’s severe physical injuries that Decedent Riley

sustained prior to his death. Prior to his death, Decedent Riley had viable personal injury claims

and causes of action against the Defendants. Decedent Riley would have been entitled to bring

an action for the personal injuries he sustained in the incident made the basis of this lawsuit, if he

had lived.

15.    Accordingly, Plaintiff as spouse, heir and representative of the Estate of James Eugene

Riley Jr sues and makes survival claims including on behalf of said Estate against Defendants for

Decedent Riley’s medical expenses; pain and suffering; mental anguish; funeral expenses;

exemplary damages; court costs and prejudgment and post judgment interest.




                                                  5
      Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 6 of 28



                                       WRONGFUL DEATH

16.   Plaintiff Robbie Riley is the spouse of the deceased Decedent Riley and is entitled to bring

this wrongful death action pursuant to Texas Civil Practice and Remedies Code Section 71.001,

et seq. Plaintiff brings the following wrongful death claims and causes of action against

Defendants as stated herein. Defendants’ respective tortious acts and omissions proximately

caused Decedent Riley’s severe physical injuries and death. Each of said tortious acts and

omissions (including those described throughout this pleading) constitutes a wrongful act and/or

constitutes neglect, and/or carelessness, and/or unskillfulness, and/or default by each of the

Defendants. Decedent Riley would have been entitled to bring an action against Defendants for

his injuries, if he had lived. Plaintiff sustained actual injuries as a result of the incident made the

basis of this lawsuit.

17.     Accordingly, Plaintiff Robbie Riley sues and makes claims against Defendants for the

wrongful death of Decedent Riley as stated herein and makes claims against Defendants for loss

of services; loss of earnings; future support; advice, care maintenance, mental anguish in the past

and future; loss of companionship and society; loss of consortium; court costs and prejudgment

and post judgment interest. As a further result of the nature and the consequences of their

injuries, Plaintiff has suffered great mental and emotional pain, suffering, and anguish, and in all

reasonable probability Plaintiff will continue to suffer in this manner for a long time into the

future, if not for the balance of her natural life.

                                    STRICT LIABILITY - CDI

18.     At all times relevant hereto, Defendant CDI sold and placed in the stream of commerce

CDI’s Model Pro Series 785P telescoping ladder in a defective condition (as set forth below) that

was unreasonably dangerous to the users and consumers of CDI’s Model Pro Series 785P




                                                      6
       Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 7 of 28



telescoping ladder. Defendant CDI was engaged in the business of selling telescoping ladders to

the public including but not limited to CDI’s Model Pro Series 785P telescoping ladder for use.

CDI’s Model Pro Series 785P telescoping ladder was expected to and did reach the user, in this

case Decedent Riley, without substantial change in the condition in which it is sold. The

defective condition (as set forth below) of CDI’s Model Pro Series 785P telescoping ladder

caused the injuries and death sustained by Decedent Riley.

Design Defects:

19.      Defendant CDI defectively designed CDI’s Model Pro Series 785P telescoping ladder

including the subject ladder utilized by Decedent Riley leading to his injuries and death. Such

defects include but are not limited to the following:

      1. The ladder lacks appropriate feet to stabilize the ladder when in use;

      2. The ladder lacks the adjustable footing such that the entire foot surface is flush against
         the ground when the ladder is in use;

      3. The ladder was not designed with adequate contact points with the ground;

      4. The ladder lacks an appropriate design that is available and in use in other ladders to
         provide that the entire foot of the ladder is in flush contact with the ground;

      5. The ladder was designed without adjustable feet to permit proper traction with the ground
         surface;

      6. The ladder was not designed with adequate contact points to support the normal weight
         that the ladder is designed to hold because only a portion of the feet is in contact with the
         ground on the floor;

      7. The ladder is designed in a way that both sides of the ladder can be used which permits
         the feet of the ladder to be slightly elevated off of the ground to permit and facilitate the
         instability of the ladder;

      8. The ladders telescoping handles and clips do not adequately secure the ladder and do not
         prevent the ladder from collapsing (in whole or part);

      9. The 785P telescoping ladder does not have adequate protection to prevent it from
         slipping and falling over;



                                                   7
       Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 8 of 28




      10. The 785P telescoping ladder is unstable when the ladder is fully extended;

      11. The ladder’s foot surface is too hard and rigid to provide proper grip / friction;

      12. The base of the ladder does not provide adequate grip and friction to hold it on the flat
          floor surface;

      13. Defects and/or damage (e.g., corrosion) to the rung latch locking mechanism(s), which
          damage / defects occurred while the ladder was under CDI’s control and/or during
          manufacturing.

      14. As to the design, lack of clearly visible locking indicators on the slide levers created a
          condition such that the failure of the rung latch(s) to properly lock were unlikely to be
          perceived by the user (here, the Decedent Riley) of the ladder.

      15. The soft plastic covering to the feet of the ladder wear down and tear too easily thereby
         causing the hard plastic surface of the feet (which is under the soft plastic covering) to
         make contact with a floor surface resulting in a condition prone to causing the ladder to
         slip and slide under normal use and when the ladder is used as intended or instructed by
         CDI.

      16. There are no grooves or grip to the hard plastic surface underneath the soft plastic
          “shoes” to the ladder’s feet that would provide secondary grip to surfaces should the soft
          plastic feet erode, tear or wear down.

      17. With respect to the soft plastic “shoes,” the shoes are comprised of a material with
          inadequate abrasion resistance, inadequate wear resistance, and inadequate traction
          capabilities, such that the material utilized fails to sufficiently prevent the plastic feet
          from eroding, tearing or wearing down, and fails to provide the traction needed to prevent
          the ladder from slipping.

      18. With respect to the soft plastic “shoes,” an inadequate tread pattern was utilized with an
          inferior element geometry that provides inadequate traction and allows for increased
          treadwear. The tread pattern utilized has the improper rib, lug and groove location, depth,
          size, shape, density and proximity to one another, for this particular application.

      19. There are no wear indicators beneath the soft plastic shoes to the ladder’s feet that would
          alert the user of the ladder, that the shoes to the ladder should be replaced. The wear
          indicator would be a brightly colored material underneath the dark colored soft plastic
          shoes to the ladder, so when the shoes of the ladder become worn and/or torn, the bright
          color would appear indicting to the user that the shoes to the ladder should be replaced.

20.     There was a safer alternative design to the design of the feet to CDI’s Model Pro Series

785P telescoping ladder including but not limited to:



                                                    8
     Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 9 of 28



(1) the feet of the ladder at issue could have used movable and/or adjustable feet that conform to
the surface that it stands upon rather than having static feet;

(2) the feet on the ladder could have been made without angled sides as is currently the case with
the ladder;

(3) the ladder could have had larger feet to obtain more surface area upon the ground upon which
its stands;

(4) The ladder could have included adjustable footing such that the entire foot surface is flush
against the ground when the ladder is in use;

(5) The ladder could have included adequate contact points on its feet to make adequate contact
with the ground;

(6) The ladder could have included a design that is available and in use in other ladders to
provide that the entire foot of the ladder is in contact with the flat ground;

(7) The ladder could have included adjustable feet to permit proper traction with the flat ground
surface;

(8) The ladder could have included adequate contact points with the ground to support normal
weight a ladder is designed that only a portion of the feet are in contact with the flat ground on
the floor;

(9) The ladder could have included clips to adequately secure the ladder and prevent the ladder
from collapsing (in whole or part);

(10) The ladder could have included protection like kick stands that elongate on the sides of the
ladder that prevent it from slipping and falling over;

(11) The ladder could have included feet with softer surfaces and with more grip to provide
proper friction and contact with ground surfaces;

(12) The ladder could have included a base that provides adequate friction to hold it on the flat
floor surface;

(13) The ladder could have included corrosion protection to the rung latch locking
mechanism(s), while the ladder was under CDI’s control and/or during manufacturing;

(14) The ladder could have included clearly visible locking indicators on the slide levers so that
the users of the ladder can perceive that the locking mechanism is in the locked or unlocked
position;

(15) The ladder could have included a more wear resistant soft plastic covering to the feet of the
ladder which would prohibit the soft plastic feet from wearing down and tearing too easily;



                                                9
      Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 10 of 28




(16) The ladder could have included grooves or grip to the hard plastic surface underneath the
soft plastic “shoes” to the ladder’s feet that would provide secondary grip to surfaces should the
soft plastic feet erode, tear or wear down.

(17) The ladder could have included “shoes,” to the ladder that are comprised of a material with
adequate abrasion resistance, adequate wear resistance, and adequate traction capabilities, such
that the material would sufficiently prevent the plastic feet from eroding, tearing or wearing
down, and provides the traction needed to prevent the ladder from slipping.

(18) The ladder could have included “shoes,” to the ladder that had an adequate tread pattern
that provides adequate traction and allows for increased treadwear. The ladder could have
included a tread pattern that has the proper rib, lug and groove location, depth, size, shape,
density and proximity to one another, for the ladder’s particular application.

(19) The ladder could have included wear indicators beneath the soft plastic shoes to the
ladder’s feet that would alert the user of the ladder, that the shoes to the ladder should be
replaced. The wear indicator would be a brightly colored material underneath the dark colored
soft plastic shoes to the ladder, so when the shoes of the ladder become worn and/or torn, the
bright color would appear indicating to the user that the shoes to the ladder should be replaced.

21.     Each of above described safer alternative designs or alternatively two or more of the

above would have prevented or significantly reduced the risk of injury without substantially

impairing the product’s CDI’s Model Pro Series 785P telescoping ladder’s, utility. Further, each

of the above described safer alternative designs are and all collectively are both technologically

and economically feasible when the product left the control of the manufacturer, CDI by the

application of existing or reasonably achievable scientific knowledge. Many of the safer

alternative design features stated above are utilized by ladders that compete with CDI’s Model

Pro Series 785P telescoping ladder and/or have been employed by CDI in other similar models

of CDI’s telescoping ladders line. The design defects identified above, either individually or

collectively was the producing cause of Decedent Riley’s injuries and death. Further, Decedent

Riley’s injuries and death was directly and proximately caused by the design defects stated above

in the Model Pro Series 785P telescoping ladder used by Decedent Riley. Further, given the

design defects as stated above, the gravity and likelihood of injury from the use of CDI’s Model



                                               10
    Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 11 of 28



Pro Series 785P telescoping ladder outweighs the utility of said ladder to the user and the public

as a whole. Prior to Decedent Riley’s injury and death, there were available substitute products

(substitute for Model Pro Series 785P telescoping ladder) that met the same need as Model Pro

Series 785P telescoping ladder but not unsafe or unreasonably expensive. There are many

competing telescoping ladders very similar to CDI’s Model Pro Series 785P telescoping ladder

that meet the same needs and are not unsafe or unreasonably expensive. Alternatively, CDI

designs and manufactures other ladders that met the same need as Model Pro Series 785P

telescoping ladder but not unsafe or unreasonably expensive. CDI possesses the ability to

eliminate the unsafe character of the Model Pro Series 785P telescoping ladder without seriously

impairing its usefulness or significantly increasing its cost. Alternatively, Decedent Riley knew

how to use ladders by virtue of his work experience, was aware of the dangers inherent in any

ladder and the Model Pro Series 785P telescoping ladder and was aware of how to avoid the

inherent dangers of using a ladder. However, there was no chance or way for Decedent Riley to

avoid the design defect in CDI’s Model Pro Series 785P telescoping ladder as stated above.

Alternatively, the warnings and instructions for CDI’s Model Pro Series 785P telescoping ladder

were not suitable for the ladder and failed to warn Decedent Riley of the inherent dangers of

CDI’s Model Pro Series 785P telescoping ladder. The expectation of the ordinary consumer, like

Decedent Riley, was that the feet to the ladder should not be prone to slip, slide, tear or become

unstable while in use. Alternatively, the expectation of the ordinary consumer, like Decedent

Riley, was that the alleged locking tabs on the telescoping ladder would not give way, fail or

collapse while in use.




                                               11
      Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 12 of 28



Manufacturing Defect:

22.     Defendant CDI defectively manufactured CDI’s Model Pro Series 785P telescoping

ladder including the particular ladder used by Decedent Riley leading to his death. Said Model

Pro Series 785P telescoping ladder was defectively manufactured in that the finished product,

CDI’s Model Pro Series 785P telescoping ladder, deviated in terms of its construction or quality,

from the specifications or planned output in a manner that rendered CDI’s Model Pro Series

785P telescoping ladder unreasonably dangerous. CDI’s Model Pro Series 785P telescoping

ladder including the particular ladder used by Decedent Riley leading to his death was defective

when it left the hands of CDI. The feet to CDI’s Model Pro Series 785P telescoping ladder were

not made with the specified materials or proper grade of materials thereby making the feet to the

ladder unreasonably dangerous in that the ladder feet are prone to slip, tear, wear down very

easily, give way and/or slide. The grade of the soft plastic shoes to the ladder that was used in

the manufacturing process was not the identical grade of soft plastic which was specified by

CDI. The ladder’s feet did not conform to CDI’s own specifications and is not identical to its

mass produced siblings. With respect to the rung latch locking mechanism(s) of the ladder

and/or with respect to locking indicators, the finished product, CDI’s Model Pro Series 785P

telescoping ladder deviated in terms of its construction or quality from the specifications or

planned output in a manner that rendered Model Pro Series 785P telescoping ladder

unreasonably dangerous. The manufacturing defects identified above, was the producing cause

of Decedent Riley’s injuries and death. Further, Decedent Riley’s injuries and death was directly

and proximately caused by the manufacturing defects in the Model Pro Series 785P telescoping

ladder used by Decedent Riley.




                                               12
      Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 13 of 28



Marketing Defects:

23.     A risk of harm inherently exits in CDI’s Model Pro Series 785P telescoping ladder, the

ladder is prone to slipping, sliding or becoming unstable while in use or alternatively regular

intended use of the ladder causes the ladder to become prone to slipping, sliding or becoming

unstable while in use.    Alternatively, a risk of harm may arise out from the intended, or

reasonably anticipated use of, CDI’s Model Pro Series 785P telescoping ladder, regular intended

use of the ladder causes the ladder to become prone to slipping, sliding or becoming unstable

while in use. CDI reasonably foresaw the risk of harm at the time CDI’s Model Pro Series 785P

telescoping ladder was marketed. CDI’s Model Pro Series 785P telescoping ladder possesses a

marketing defect. The absence of the warning or instructions rendered CDI’s Model Pro Series

785P telescoping ladder unreasonably dangerous to the ultimate user or consumer of the product,

in this case Decedent Riley. The failure to warn and/or instruct constitutes a causative nexus in

the product user’s injury, Decedent Riley’s injury and death. Defendant CDI owed a duty to

warn the users of CDI’s Model Pro Series 785P telescoping ladder of the ladder’s risk of slipping

from its feet and that because there are no wear indicators on the feet to the ladder, particular

attention should be given to the wear or tears on the “shoes” of the ladder. Defendant CDI knew

or should have known of the potential risk involving CDI’s Model Pro Series 785P telescoping

ladder’s risk of slipping from its feet, but marketed and sold the ladder without adequate warning

of the danger - risk of slipping from its feet or providing instructions for safe use and that

because there are no wear indicators on the feet to the ladder, particular attention should be given

to the wear or tears on the “shoes” of the ladder. The lack of adequate warning or instruction for

the ladder rendered the ladder unreasonably dangerous. The ladder lacked an adequate warning

including but not limited to: that the ladder’s static feet could not adjust to uneven surfaces, the




                                                13
    Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 14 of 28



ladder’s instability when placed upon uneven or angled ground, and that if the soft plastic feet to

the ladder have any wear down the soft plastic feet should be replaced to provide the appropriate

and safe grip to floor / ground surfaces and that because there are no wear indicators on the feet

to the ladder particular attention should be given to the wear or tears on the “shoes” of the ladder,

regular intended use of the ladder causes the ladder to become prone to slipping, sliding or

becoming unstable while in use. The failure to warn or provide instructions for safe use of the

ladder identified above, was the producing cause of Decedent Riley’s injuries and death.

Further, Decedent Riley’s injuries and death was directly and proximately caused by Defendant

CDI’s failure to warn or provide instructions for safe use of the ladder.

24. Additionally, Defendant CDI owed a duty to warn the users to inspect the condition of the

rubber caps attached to the feet and failed to specify replacement of the rubber caps when they

were worn down or alternatively regular intended use of the ladder causes the ladder to become

prone to slipping, sliding or becoming unstable while in use. The ladder’s label should instruct

the user to turn the ladder on its side before every use to inspect the rubber feet caps for wear.

Defendant CDI knew or should have known of the potential risk involving CDI’s Model Pro

Series 785P telescoping ladder’s risk of slipping from its feet due to worn-down rubber caps, but

marketed and sold the ladder without adequate warning of said danger - risk of slipping from its

feet due to failure to periodically inspect / replace the rubber caps. The ladder lacked an adequate

warning including but not limited to: failure to periodically inspect and replace the rubber caps

can result in serious injury or death. Said failure to warn or provide instructions for safe use of

the ladder was the producing cause of Decedent Riley’s injuries and death. Further, Decedent

Riley’s injuries and death was directly and proximately caused by Defendant CDI’s failure said

warn or provide instructions for safe use of the ladder.




                                                 14
      Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 15 of 28



25. Another marketing defect is that CDI marketed the subject ladder as having “non-slip end

caps.” Defendant CDI owed a duty to not misrepresent that the end caps are “non-slip.” The

ladder’s marketing materials, instructions, and label should have instructed the user that the caps

are capable of slipping. Defendant CDI knew or should have known of the potential risk

involving CDI’s Model Pro Series 785P telescoping ladder’s risk of slipping from its and yet

sold the ladder without an incorrect representation that the end caps are non-slip. Said

representation was made either directly by CDI to Decedent Riley or made by CDI to Amazon

with awareness that Amazon was publishing this “non-slip” representation in its marketing of the

subject ladder. Said misrepresentation in marketing materials was the producing cause of

Decedent Riley’s injuries and death. Further, Decedent Riley’s injuries and death was directly

and proximately caused by said misrepresentation.

                                       NEGLIGENCE – CDI

26.      Defendant CDI owed a duty of reasonable care to its consumers like Decedent Riley to

design, manufacture, and market CDI’s Model Pro Series 785P telescoping ladder. Defendant

breached its duty of reasonable care when it defectively designed, marketed and manufactured

CDI’s Model Pro Series 785P telescoping ladder. Decedent Riley’s injuries and death was

directly and proximately caused by the negligence of the Defendant CDI in designing,

manufacturing, and marketing and the Model Pro Series 785P telescoping ladder as stated above

in paragraphs 21-28 adopted and incorporated herein by reference and as follows:

      1. The ladder lacks appropriate feet to stabilize the ladder when in use;

      2. The ladder lacks the adjustable footing such that the entire foot surface is flush against
         the ground when the ladder is in use;

      3. The ladder was not designed with adequate contact points with the ground;




                                                  15
Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 16 of 28



4. The ladder lacks an appropriate design that is available and in use in other ladders to
   provide that the entire foot of the ladder is in contact with the flat ground;

5. The ladder was designed without adjustable feet to permit proper traction with the flat
   ground surface;

6. The ladder was not designed with adequate contact points to support normal weight a
   ladder is designed that only a portion of the feet are in contact with the flat ground on the
   floor;

7. The ladder is designed in a way that both sides of the ladder can be used which permits
   the feet of the ladder to be slightly elevated off of the ground to permit and facilitate the
   instability of the ladder;

8. The ladders telescoping handles and clips do not adequately secure the ladder;

9. The 785P telescoping ladder does not have adequate protection from prevent it from
   slipping and falling over;

10. The 785P telescoping ladder is unstable when the ladder is fully extended;

11. The ladder’s foot surface is too hard and rigid to provide proper friction;

12. The base of the ladder does not provide adequate friction to hold it on the flat floor
    surface;

13. The 785P telescoping ladder is a dangerous product placed into the stream of
   commerce;

14. CDI failed to discover, identify, acknowledge, disclose to foreseeable users and correct
    the aforementioned defects;

15. CDI failed to design, manufacture, assemble, supply, distribute and sell a safe ladder as
    stated herein thereby placing users at risk for injury;

16. CDI failed to warn its consumers of the instability of the ladder;

17. Defects and/or damage (e.g., corrosion) to the rung latch locking mechanism(s), which
    damage / defects occurred while the ladder was under CDI’s control and/or during
    manufacturing.

18. As to the design, lack of clearly visible locking indicators on the slide levers created a
    condition such that the failure of the rung latch(s) to properly lock were unlikely to be
    perceived by the user (here, the Decedent Riley) of the ladder.




                                             16
      Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 17 of 28



      19. The soft plastic covering to the feet of the ladder wear down and tear too easily thereby
         causing the hard plastic surface of the feet (which is under the soft plastic covering) to
         make contact with a floor surface resulting in a condition prone to causing the ladder to
         slip and slide under normal use and when the ladder is used as intended or instructed by
         CDI.

      20. There are no grooves or grip to the hard plastic surface underneath the soft plastic
          “shoes” to the ladder’s feet that would provide secondary grip to surfaces should the soft
          plastic feet erode, tear or wear down.

27.       Defendant CDI knew, or in the exercise of ordinary care should have known that the

Model Pro Series 785P telescoping ladder in question was defectively designed, manufactured

and marketed as described above. At the time of the design of the of the Model Pro Series 785P

telescoping ladder at issue, there existed a safer alternative design including but not limited to:

the feet of the ladder at issue could have used movable and/or adjustable feet that conform to the

surface that it stands upon rather than having static feet and larger feet to obtain more surface

area upon the ground upon which its stands.           Further, the of the Model Pro Series 785P

telescoping ladder in question deviated from its planned specifications in manufacturing which

rendered said ladder defective and unreasonably dangerous.          Further, the ladder lacked an

adequate warning in that the ladder failed to warn of, including but not limited to: that the

ladder’s static feet could not adjust to uneven surfaces, the ladder’s instability when placed upon

uneven or angled ground, and that if the soft plastic feet to the ladder have any wear down the

soft plastic feet should be replaced to provide the appropriate and safe grip to floor / ground

surfaces and that because there are no wear indicators on the feet to the ladder particular

attention should be given to the wear or tears on the “shoes” of the ladder, regular intended use

of the ladder causes the ladder to become prone to slipping, sliding or becoming unstable while

in use.    The acts and/or omissions of Defendant CDI described above was a proximate result,

substantial factor and producing cause of Decedent Riley’s injuries and death.



                                                 17
  Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 18 of 28



                                Breach of Warranty – CDI

28.    Defendant CDI is liable to Plaintiff / Decedent Riley under the Texas Deceptive Trade

Practices Act. Tex. Bus. & Comm. Code Sec. 17 et. seq. Decedent Riley was a consumer as

he sought to purchase goods, in this case CDI’s Model Pro Series 785P telescoping ladder.

Defendant CDI committed one or more of the following wrongful acts: (1) representing that

CDI’s Model Pro Series 785P telescoping ladder had sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities it does not have; (2) representing that CDI’s Model

Pro Series 785P telescoping ladder was of a particular standard, quality, or grade, or that

CDI’s Model Pro Series 785P telescoping ladder was of a particular style or model when it

was not; (3) CDI failed to disclose information about the CDI’s Model Pro Series 785P

telescoping ladder that was known at the time of the transaction when the failure to disclose

was intended to induce the consumer, Decedent Riley to enter a transaction that the

consumer, Decedent Riley would not have entered into if the information had been disclosed.

CDI made affirmative representations that CDI’s Model Pro Series 785P telescoping ladder

had the following characteristics and qualities: the ladder features heavy-duty construction;

is designed to hold up to professional use; is OSHA and ANSI approved; features rugged

aerospace engineered 6061 aluminum alloy construction; nonslip end caps that help keep it

firmly in place; designed for both commercial contractors and home do it yourselfers, is a

sensible alternative to traditional bulky extension ladders; durable; heavy duty ladder;

ergonomic design; and locking tabs for smooth safe operation; with larger duty ratings than

the original Xtend & Climb ladders, the Professional Edition ladders can withstand even the

most demanding jobs. CDI’s Model Pro Series 785P telescoping ladder did not have the

above described characteristics and qualities since CDI’s Model Pro Series 785P telescoping




                                             18
  Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 19 of 28



ladder was defectively designed, manufactured and marketed as described in paragraphs 21-

30 adopted and incorporated herein by reference. Additionally, CDI breached its express and

implied warranties to Plaintiff / Decedent Riley as stated below.


29. Express Warranty - Defendant CDI breached its express warranty to Plaintiff / Decedent

Riley. Defendant CDI made affirmative statements of fact and promises to Decedent Riley or

alternatively provided a description of the Model Pro Series 785P telescoping ladder that

related to CDI’s Model Pro Series 785P telescoping ladder as follows: the ladder features

heavy-duty construction; is designed to hold up to professional use; is OSHA and ANSI

approved; features rugged aerospace engineered 6061 aluminum alloy construction; nonslip

end caps that help keep it firmly in place; designed for both commercial contractors and

home do it yourselfers, is a sensible alternative to traditional bulky extension ladders;

durable; heavy duty ladder; ergonomic design; and locking tabs for smooth safe operation;

with larger duty ratings than the original Xtend & Climb ladders, the Professional Edition

ladders can withstand even the most demanding jobs. These descriptions and affirmative

statements of fact and promises became part of the basis of the bargain between CDI and

Decedent Riley. These above described acts by CDI created an express warranty that CDI’s

Model Pro Series 785P telescoping ladder shall conform to the above descriptions,

affirmations and promises. CDI breached its warranty to Decedent Riley because CDI’s

Model Pro Series 785P telescoping ladder did not conform to the above descriptions,

affirmations and promises. As a direct and proximate result of the breaches, Decedent Riley

sustained injuries and death.


30. Implied Warranty - Defendant CDI breached its implied warranty of merchantability to

Plaintiff / Decedent Riley. Decedent Riley had a unique purpose for buying CDI’s Model


                                              19
      Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 20 of 28



 Pro Series 785P telescoping ladder in that Riley would use the ladder in his employment to

 conduct inspections of homes for construction and home repair work. CDI had reason to

 know of Decedent Riley’s particular purpose of purchasing the CDI’s Model Pro Series 785P

 telescoping ladder since CDI describes and markets its CDI’s Model Pro Series 785P

 telescoping ladder as possessing the following traits and characteristics: the ladder features

 heavy-duty construction; is designed to hold up to professional use; is OSHA and ANSI

 approved; features rugged aerospace engineered 6061 aluminum alloy construction; nonslip

 end caps that help keep it firmly in place; designed for both commercial contractors and

 home do it yourselfers, is a sensible alternative to traditional bulky extension ladders;

 durable; heavy duty ladder; ergonomic design; and locking tabs for smooth safe operation;

 with larger duty ratings than the original Xtend & Climb ladders, the Professional Edition

 ladders can withstand even the most demanding jobs. Decedent Riley relied upon CDI’s

 judgment. CDI breached its warranty to Decedent Riley because CDI’s Model Pro Series

 785P telescoping ladder was defective, did not conform to the above descriptions and was

 not fit for the particular purpose that Decedent Riley purchased the ladder to serve. As a

 direct and proximate result of the breaches, Decedent Riley sustained injuries and death.


                                NEGLIGENCE – AMAZON

31.     Defendant Amazon owed a duty of reasonable care to its consumers like Decedent Riley.

Defendant Amazon owed a duty to market and advertise CDI’s             Model Pro Series 785P

telescoping ladder with reasonable care to its consumers like Decedent Riley. Defendant

breached its duty of reasonable care when it marketed and advertised and placed into the stream

of commerce the Model Pro Series 785P telescoping ladder which was unreasonably dangerous

as described in paragraphs 21-30 adopted and incorporated herein by reference. Amazon, on its



                                              20
    Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 21 of 28



website, negligently represented that CDI’s Model Pro Series 785P telescoping ladder had the

following characteristics: the ladder features heavy-duty construction; is designed to hold up to

professional use; is OSHA and ANSI approved; features rugged aerospace engineered 6061

aluminum alloy construction; nonslip end caps that help keep it firmly in place; designed for

both commercial contractors and home do it yourselfers, is a sensible alternative to traditional

bulky extension ladders; durable; heavy duty ladder; ergonomic design; and locking tabs for

smooth safe operation; with larger duty ratings than the original Xtend & Climb ladders, the

Professional Edition ladders can withstand even the most demanding jobs. Amazon breached its

duties to market and advertise the Model Pro Series 785P telescoping ladder when such

representations were false. Decedent Riley justifiably relied upon Amazon’s representations.

Decedent Riley’s injuries and death was directly and proximately caused by the negligence of the

Defendant Amazon in making the above representations and supplying, distributing, selling

marketing, advertising and placing into the stream of commerce the Model Pro Series 785P

telescoping ladder.

32. Alternatively, Amazon exercised substantial control over the content of the warnings and

instructions regarding the Model Pro Series 785P telescoping ladder. The warnings and

instructions were inadequate. Decedent Riley’s injury and death was a producing and proximate

cause of Riley’s injuries and death. Amazon failed to warn its consumers of the instability and

aforementioned defects of the subject ladder as stated above and adopted and incorporated herein

by reference.    Amazon failed to discover, identify, acknowledge, disclose and warn to

foreseeable users and correct the aforementioned defects. The warnings and instructions were

inadequate or were not provided to Decedent Riley and Decedent Riley’s injuries and death

resulted from the inadequacy of the warning and instructions.




                                               21
      Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 22 of 28



33.     Alternatively, Amazon made express factual representations about the aspects of the

Model Pro Series 785P telescoping ladder to wit: the ladder features heavy-duty construction; is

designed to hold up to professional use; is OSHA and ANSI approved; features rugged aerospace

engineered 6061 aluminum alloy construction; nonslip end caps that help keep it firmly in place;

designed for both commercial contractors and home do it yourselfers, is a sensible alternative to

traditional bulky extension ladders; durable; heavy duty ladder; ergonomic design; and locking

tabs for smooth safe operation; with larger duty ratings than the original Xtend & Climb ladders,

the Professional Edition ladders can withstand even the most demanding jobs. The

aforementioned representations were incorrect.      Defendant CDI’s Model Pro Series 785P

telescoping ladder: did not feature heavy-duty construction; was not designed to hold up to

professional use; did not feature rugged construction; did not have nonslip end caps; was not

designed for commercial contractors; was not durable; was not a heavy duty ladder; and did not

have locking tabs for smooth safe operation; the Professional Edition ladders cannot and did not

withstand even the most demanding jobs and did not operate safely. Decedent Riley relied upon

Amazon’s representations in purchasing, obtaining and using the subject ladder. If the aspects of

the subject ladder had been as represented by Amazon, Decedent Riley would not have suffered

harm or the same degree of harm, injuries and death.         If CDI’s Model Pro Series 785P

telescoping ladder had nonslip end caps the ladder Decedent Riley was using would not have

slipped and caused Decedent Riley to fall and sustain injuries and death.     Amazon’s express

factual representations about the aspects of the Model Pro Series 785P telescoping ladder to the

public and Decedent Riley, was the producing cause of Decedent Riley’s injuries and death.

Decedent Riley relied upon Amazon’s representations about CDI’s Model Pro Series 785P

telescoping ladder to purchase and use the ladder. Further, Decedent Riley’s injuries and death




                                               22
      Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 23 of 28



was directly and proximately caused by Defendant CDI’s express factual representations about

the aspects of the Model Pro Series 785P telescoping ladder.

34.     Plaintiff would further show that Defendant Amazon knew, or in the exercise of ordinary

care should have known that the Model Pro Series 785P telescoping ladder in question was

defectively designed and manufactured as described above.         The acts and/or omissions of

Defendant Amazon described above was a proximate result, substantial factor and producing

cause of Decedent Riley’s injuries and death.

                          DTPA (Breach of Warranty) – AMAZON

 35.     Decedent Riley purchased CDI’s Model Pro Series 785P telescoping ladder from

 Amazon’s website. Defendant Amazon is a corporation that can be sued under the Texas

 Deceptive Trade Practices Act (hereinafter DTPA). Defendant Amazon is liable to Plaintiff /

 Decedent Riley under the Texas Deceptive Trade Practices Act. Tex. Bus. & Comm. Code

 Sec. 17 et. seq. Decedent Riley was a consumer as he sought to purchase goods, in this case

 CDI’s Model Pro Series 785P telescoping ladder. Defendant Amazon committed one or more

 of the following wrongful acts: (1) representing that the Model Pro Series 785P telescoping

 ladder had sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities it

 does not have; (2) representing that the Model Pro Series 785P telescoping ladder was of a

 particular standard, quality, or grade, or that the Model Pro Series 785P telescoping ladder

 was of a particular style or model when it was not; (3) Amazon failed to disclose information

 about the Model Pro Series 785P telescoping ladder that was known at the time of the

 transaction when the failure to disclose was intended to induce the consumer, Decedent Riley

 to enter a transaction that the consumer, Decedent Riley would not have entered into if the

 information had been disclosed. Amazon made affirmative representations that the Model



                                                23
  Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 24 of 28



Pro Series 785P telescoping ladder had the following characteristics and qualities: the ladder

features heavy-duty construction; is designed to hold up to professional use; is OSHA and

ANSI approved; features rugged aerospace engineered 6061 aluminum alloy construction;

nonslip end caps that help keep it firmly in place; designed for both commercial contractors

and home do it yourselfers, is a sensible alternative to traditional bulky extension ladders;

durable; heavy duty ladder; ergonomic design; and locking tabs for smooth safe operation;

with larger duty ratings than the original Xtend & Climb ladders, the Professional Edition

ladders can withstand even the most demanding jobs.             The Model Pro Series 785P

telescoping ladder did not have the above described characteristics and qualities since the

Model Pro Series 785P telescoping ladder was defectively designed, manufactured and

marketed as described in paragraphs 21-30 adopted and incorporated herein by reference.

Additionally, Amazon breached its express and implied warranties to Plaintiff / Decedent

Riley as stated below.


36. Express Warranty - Defendant Amazon breached its express warranty to Plaintiff /

Decedent Riley. Defendant Amazon made affirmative statements of fact and promises to

Decedent Riley or alternatively provided a description of the Model Pro Series 785P

telescoping ladder that related to the Model Pro Series 785P telescoping ladder as follows:

the ladder features heavy-duty construction; is designed to hold up to professional use; is

OSHA and ANSI approved; features rugged aerospace engineered 6061 aluminum alloy

construction; nonslip end caps that help keep it firmly in place; designed for both commercial

contractors and home do it yourselfers, is a sensible alternative to traditional bulky extension

ladders; durable; heavy duty ladder; ergonomic design; and locking tabs for smooth safe

operation; with larger duty ratings than the original Xtend & Climb ladders, the Professional



                                              24
  Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 25 of 28



Edition ladders can withstand even the most demanding jobs.          These descriptions and

affirmative statements of fact and promises became part of the basis of the bargain between

Amazon and Decedent Riley. These above described acts by Amazon created an express

warranty that the Model Pro Series 785P telescoping ladder shall conform to the above

descriptions, affirmations and promises. Amazon breached its warranty to Decedent Riley

because the Model Pro Series 785P telescoping ladder did not conform to the above

descriptions, affirmations and promises. As a direct and proximate result of the breaches,

Decedent Riley sustained injuries and death.


37. Implied Warranty - Defendant Amazon breached its implied warranty of merchantability

to Plaintiff / Decedent Riley. Decedent Riley had a unique purpose for buying the Model Pro

Series 785P telescoping ladder in that Riley would use the ladder in his employment to

conduct inspections of homes for construction and home repair work. Amazon had reason to

know of Decedent Riley’s particular purpose of purchasing the Model Pro Series 785P

telescoping ladder since Amazon describes and markets the Model Pro Series 785P

telescoping ladder as possessing the following traits and characteristics: the ladder features

heavy-duty construction; is designed to hold up to professional use; is OSHA and ANSI

approved; features rugged aerospace engineered 6061 aluminum alloy construction; nonslip

end caps that help keep it firmly in place; designed for both commercial contractors and

home do it yourselfers, is a sensible alternative to traditional bulky extension ladders;

durable; heavy duty ladder; ergonomic design; and locking tabs for smooth safe operation;

with larger duty ratings than the original Xtend & Climb ladders, the Professional Edition

ladders can withstand even the most demanding jobs. Decedent Riley relied upon Amazon’s

judgment. Amazon breached its warranty to Decedent Riley because the Model Pro Series



                                               25
        Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 26 of 28



  785P telescoping ladder was defective, did not conform to the above descriptions and was

  not fit for the particular purpose that Decedent Riley purchased the ladder to serve. As a

  direct and proximate result of the breaches, Decedent Riley sustained injuries and death.


                                     EXEMPLARY DAMAGES

38.       The wrongful conduct of each Defendant, as set forth above, when viewed objectively

from said Defendants’ respective standpoints at the time it occurred, involved an extreme degree

of risk considering the probability and magnitude of the potential harm to others; and said

Defendants had actual, subjective awareness of the risk, but still proceeded with a conscious

indifference to the rights, safety and welfare of others. In addition to the above bases, the entity

defendants are additionally liable in exemplary damages because, regardless of whether the

entities committed gross negligence in their own right, each of said entities authorized and/or

ratified its representative’s / agent’s / employees’ misconduct (as described herein).

Accordingly, Plaintiff sues Defendants for exemplary damages to be determined by the trier of

fact.

                                    CONDITIONS PRECEDENT

39.       All conditions precedent to Plaintiff’s claims have been performed or have occurred.

                                           JURY DEMAND

40.       Plaintiff hereby demands a trial by jury and tenders the appropriate fee with this petition.

                                       PRAYER FOR RELIEF

41.       WHEREFORE PREMISES CONSIDERED, Plaintiff Robbie Riley prays that

Defendants be cited to appear and answer, and that on final trial, Plaintiff recover the following:

          1.     Judgment against Defendants for damages within the jurisdictional limits
                 of the Court;

          2.     Prejudgment interest as provided by law;


                                                   26
    Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 27 of 28




       3.     Post judgment interest as provided by law;

       4.     Costs of suit;

       5.     Medical expenses in the past;

       6.     Loss of future support and earnings;

       7.     Pain and suffering in the past and future;

       8.     Mental anguish in the past and future;

       9.     Loss of companionship and society;

       10.    Loss of consortium;

       11.    Loss of services;

       12.    Funeral and burial expenses;

      13.      Such other and further relief to which Plaintiff has requested herein and
may be justly entitled.


                                     Respectfully submitted,


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                                               27
    Case 7:17-cv-00223 Document 66 Filed on 01/15/18 in TXSD Page 28 of 28



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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served on
known electronic filing users listed below via the automatic electronic filing notice system and
by facsimile on January 15, 2018. There are no parties to the instant action that are not
electronic filing users.

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                                              28
